             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                               2:09CR29

UNITED STATES OF AMERICA,                             )
                                                      )
Vs.                                                   )            ORDER
                                                      )
GARY ROBERT FRONRATH.                                 )
__________________________________                    )

       THIS MATTER is before the court upon Kristina L. Earwood’s Motion to

Withdraw (#62) and Amended Motion to Withdraw (#63). There are several problems

with such motions: (1) the motions are not signed by counsel; (2) they do not reflect

consultation with the United States Attorney; (3) they do not have certificates of

service; and (4) while seeking withdrawal of Ms. Earwood, they do not address the

continued representation of defendant by Mr. Lay. See L.Cr.R. 5.3(C); L.Cr.R.

47.1(B); Fed.R.Crim.P. 47 &49. These motions will be set for hearing.




                                       ORDER

       IT IS, THEREFORE, ORDERED that Kristina L. Earwood’s Motion to

Withdraw (#62) and Amended Motion to Withdraw (#63) are CALENDARED for

hearing, and the Clerk of this court is instructed to notice such for hearing as soon as

possible.




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                                Signed: December 12, 2009




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